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                        Ex. E
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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


IN RE: NATIONAL COLLEGIATE                             MDL NO. 2492
ATHLETIC ASSOCIATION STUDENT-
ATHLETE CONCUSSION LITIGATION                          Case No. 13-cv-09116

                                                       Judge John Z. Lee

                                                       Magistrate Judge Brown



                           DECLARATION OF JAMES R. DUGAN, II


          I, James R. Dugan, declare as follows:

          1.     I am an attorney with The Dugan Law Firm, an attorney for plaintiffs in the above

captioned case. I have full knowledge of the matters stated herein and could and would testify

hereto.

          2.     I am the founding partner of The Dugan Law Firm, APLC. I began my career

working with the late Wendell H. Gauthier and the Law Firm of Gauthier, Downing, LaBarre,

Beiser & Dean in the areas of class action, mass tort, and complex litigation, beginning with the

seminal class action lawsuit filed against the tobacco industry on the basis of nicotine addiction,

Castano v. American Tobacco, et al. which resulted in a multi-billion settlement. After Mr.

Gauthier’s untimely death in December of 2001, I formed the Dugan & Browne Law Firm, the

predecessor to the Dugan Law Firm and I continue to specialize in class action and mass tort

litigation.

          3.     I am Co-Lead Counsel in the case John DuRoucher, Darin Harris and Anthony

Mirando v. NCAA, Riddell, Inc, and Shutt Sports, filed in the Southern District of Indiana, Judge




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Barker presiding. The Dugan Law Firm also represents over 60 former NCAA players who have

suffered concussion related injuries. The Riddell case is still pending in the Southern District of

Indiana. The Dugan Law Firm along with three of the nation’s most preeminent class action

firms; Lieff Cabraser Heimann & Bernstein, Barrett law Group and Cohen & Malad, LLP have

been prosecuting football related concussion litigation for several years.

       4.      In particular, I currently serve on the NFL Concussion Plaintiff’s Steering

Committee where there is a proposed 765 million dollar settlement. I am willing and able to

commit to a time consuming project, can work cooperatively with the Court and all counsel

appointed to a Leadership Committee, and have extensive mass tort and class action litigation

experience.

       5.      As a result of my demonstrated skill and experience in class action and mass tort

practice, I have been appointed by the court to serve in key leadership positions in a number of

national federal court class action cases including:

1.       In Re: Synthroid Marketing Litigation, (MDL No. 1182), (1997-2004) USDC for the
Northern District of Illinois, Eastern Division, Judge Elaine E. Bucklo. Co-Lead Counsel for a
class of third party-payors. Settlement: $45,000,000.00

2.      In Re: Diet Drugs Litigation, (MDL No. 1203) (1997-2002) USDC for the Eastern
District of Pennsylvania, Judge Lewis C. Bechtle. Co-Lead Counsel for a large group of
individually represented third-party payors. Settlement: $35,000,000.00

3.      In Re: Propulsid Litigation, (MDL No. 1355) (2000-Present) USDC for the Eastern
District of Louisiana, Judge Eldon Fallon. Member: Plaintiffs’ Steering Committee. Settlement:
$90,000,000.00

4.      In Re: Rezulin Products Liability Litigation, (MDL No. 1348) (2000-2008) USDC for
the Southern District of New York, Judge Lewis A. Kaplan. Mr. Dugan was appointed by the
court as Liaison Counsel to a class of Health Benefit Providers. Settlement: $22,500,000.00

5.     In Re: Industrial Life Insurance Litigation, (MDL No. 1371) (2000-2007) USDC for
the Eastern District of Louisiana, Judge Martin L.C. Feldman, presiding. Member: Plaintiffs’
Executive Committee. Settlement: $50,000,000.00




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6.    In Re: Inter-Op Hip Prosthesis Product Liability Litigation, (MDL No. 1401) (2001-
2008) USDC for the Northern District of Ohio, Eastern Division, Judge Kathleen O’Malley.
Member: Plaintiffs’ Steering Committee. Settlement: $1,200,000,000.00

7.     In Re: Baycol Products Liability Litigation, (MDL No. 1431) (2001-2007) USDC for
the District of Minnesota, Judge Michael Davis. Member: Plaintiffs’ Steering Committee.
Settlement: 1,000,000,000.00

8.     In Re: Meridia Products Liability Litigation, (MDL No. 1481) (2002-2006) USDC for
the Northern District of Ohio, Judge James S. Gwin. Member: Plaintiffs’ Steering Committee.

9.     In Re: Serzone Products Liability Litigation (MDL No. 1477) (2002-2007) USDC for
the Southern District of West Virginia, Judge Joseph R. Goodwin. Member: Plaintiffs’ Steering
Committee. Settlement: $90,000,000.00

10.    In Re: Neurontin Marketing & Sales Practices Litigation (MDL No. 1629) (2004-
Present) USDC for the District of Massachusetts, Judge Patti B. Saris. Member: Plaintiffs’
Steering Committee.

11.    In Re: Vioxx Products Liability Litigation (MDL No. 1657) (2005-present) USDC for
the Eastern District of Louisiana, Judge Fallon, Magistrate Judge Knowles. Member: Co-Chair
Purchase Claims Committee. Settlement: $80,000,000.00

12.    In Re: Zyprexa Marketing and Sales Practices Litigation (MDL No. 1596) (2005-
present) USDC for the Eastern District of New York, Judge Weinstein and Magistrate Judge
Chrein. Member: Co-Lead Counsel for the Purchase Claims. Settlement: $4,500,000.00

13.    In Re: Bextra and Celebrex Marketing and Sales Practices and Products Liability
Litigation (MDL No. 1699) (2006-2010) USDC for the Northern District of California, Judge
Breyer. Member: Purchase Claims Committee. Settlement: $89,000,000.00

14.     In Re: Fosamax Product Liability Litigation (MDL No. 1789) (2006-present) USDC
for the Southern District of New York, Judge Keenan. Member: Plaintiffs’ Steering Committee.

15.    In Re: Oxycontin Marketing and Sales Practices Litigation (2007-2009) USDC for
the Southern District of New York, Judge Koel. Co-lead counsel for third-party payors.
Settlement: $20,000,000.00

16.    In Re: Ketek Marketing and Sales Practices Litigation (2008-Present) USDC for the
Eastern District of New York, Judge Townes. Co-lead Counsel for third-party payors.

17.     In Re: Vytorin Marketing, Sales Practice, and Products Liability (MDL No. 1938)
(2008-2010) USDC for the District of New Jersey, Judge Dennis M. Cavanaugh. Member:
Plaintiffs’ Steering Committee. Settlement: $45,000,000.00




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18.    In Re: Actimmune Product Liability Litigation (08-CV-3797-MHP) (2009-Present)
USDC for the Northern District of California, Judge Marilyn H. Patel. Member: Plaintiffs’
Steering Committee.

19.    In re: Light Cigarettes Marketing and Sales Practices Litigation (MDL No. 2068)
(2009-Present) USDC for the District of Maine, Judge John Woodcock Jr. Member: Plaintiffs’
Steering Committee.

20.    In Re: Celexa/Lexapro Product Liability Litigation (MDL 2067) (2009-Present)
USDC for the District of Massachusetts, Judge Nathaniel M. Gorton. Lead Counsel for the third-
party payors.

21.     In Re: Fosamax Femur Litigation (MDL No. 2243) (2011–Present) USDC for the
District of New Jersey, Judge Joel A. Pisano. Member: Plaintiffs’ Steering Committee.

22.     In Re: Effexor Antitrust Litigation (11-CV-05590) (2011-Present) USDC for the
District of New Jersey, Judge Joel A. Pisano. Member: Executive Committee for Indirect
Purchasers.

23.   In Re: Prograf Antitrust Litigation (MDL No. 2242) (2011-Present) USDC for District
of Massachusetts, Judge Rya W. Zobel. Member: Co-Lead Counsel for Indirect Purchasers.

24.    In Re: National Football Players’ Concussion Injury (MDL No. 2323) (2012–
Present), USDC for the Eastern District of Pennsylvania, Judge Anita Brody. Member: Plaintiffs’
Steering Committee.

25.    In Re: Skelaxin (Metaxalone) Antitrust Litigation (MDL No. 2343) (2012-Present),
USDC for the Eastern District of Tennessee, Judge Curtis L. Collier. Member: Plaintiffs’
Executive Committee for Indirect Purchasers.

26.   In Re: Pradaxa (Dabigatran Etexilate) Products Liability Litigation (MDL No.
2385) (2012-Present), USDC for Southern District of Illinois, Judge David R. Herndon.
Member: Plaintiffs’ Steering Committee.

27.    In Re: Nexium (Esomeprazole) Antitrust Litigation (MDL No. 2409) (2012-
Present), USDC for the District of Massachusetts, Judge William G. Young. Member: Plaintiff’s
Executive Committee for Indirect Purchasers.

28.   In Re: Fresenius Granuflo/Naturallte Dialysate Products Liability Litigation (MDL
No.2428 (2013- Present) USDC for the District of Massachusetts, Judge Douglas P. Woodlock.
Member: Plaintiffs’ Steering Committee.

29.    In Re: Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litigation
(MDL No: 2445) (2013 – Present), USDC for the Eastern District of Pennsylvania, Judge
Mitchell S. Goldberg. Member: Plaintiffs’ Executive Committee.




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30.    In Re: Niaspan Antitrust Litigation (MDL No: 2460) 2013- Present). USDC for the
Eastern District of Pennsylvania, Judge Jan E. DuBois. Member: Plaintiffs’ Steering Committee.

31.     In Re: DuRocher v. NCAA (13-cv-01570) (2013- Present) USDC for the Southern
District of Indiana, Judge Sarah Evans Baker. Co-Lead Counsel.

       6.      I received my B.A. from the University of Southwestern Louisiana in Lafayette,

Louisiana and my J.D. form Loyola University Law School in New Orleans, Louisiana. I am a

member of the Louisiana Bar and have also been admitted to practice before a number of Federal

Courts including the Eastern and Middle District’s of Louisiana and the Southern District of

Alabama, District of Massachusetts, the Eastern District of New York, United States 2nd Circuit

Court of Appeal, United States 1st Circuit and the United States 5th Circuit Court of Appeal.

       7.      I continue to be an active member in a number of well-respected legal

organizations, including the Federal Bar Association, the Louisiana Association for Justice, the

Orleans Parish Bar Associations and the Louisiana State and American Bar Associations. I have

been named to the American Association for Justice Top 100 Trial Lawyers for the years of 2007

through 2013. I also serve on the Board of Advocates for Human Rights First, and serve on the

board of my sons’ school, St. George Episcopal School in New Orleans.

       I declare the foregoing to be true and correct.

Dated: May 9, 2014                            Respectfully submitted,

                                               /s/ James R. Dugan, II      ______
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